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                                               U.S. Department of Justice

                                               United States Attorney
                                               District of New Jersey
Sean M. Sherman                                970 Broad Street
Assistant United States Attorney               Newark, New Jersey 07102
Direct Dial: (973) 645-2733


SMS/JSF/PLEA.AGR
2017R00221
                                               September 18, 2020

Jeffrey H. Sloman, Esq.
Stumphauzer, Foslio, Sloman, Ross
     & Kolaya PLLC
One Biscayne Tower
2 South Biscayne Boulevard, Suite 2550
Miami, FL 33131


            Re: Plea Agreement with Andrew McCubbins
                 Criminal No. 20-826
Dear Mr. Sloman:

              This letter sets forth the plea agreement between your client, Andrew
McCubbins (“MCCUBBINS”), and the United States Attorney for the District of New
Jersey (“this Office”). The Office’s offer to enter into this plea agreement will expire
on September 18, 2020, if a signed copy is not received by this Office on or before that
date.

Charges

             Conditioned on the understandings specified below, this Office will
accept a guilty plea from MCCUBBINS to a three-count Information, charging him
with conspiring to: (1) pay remuneration contrary to the federal health care program
anti-kickback statute, contrary to 42 U.S.C. § 1320a-7(b)(2)(A), (B), in violation of 18
U.S.C. § 371; (2) commit health care fraud, contrary to 18 U.S.C. § 1347, in violation
of 18 U.S.C. § 1349; and (3) commit wire fraud, contrary to 18 U.S.C. § 1343, in
violation of 18 U.S.C. § 1349. If MCCUBBINS enters a guilty plea and is sentenced
on these charges, and otherwise fully complies with all of the terms of this agreement,
this Office will not initiate any further criminal charges against MCCUBBINS for,
from in or about October 2018 through in or about July 2019, conspiring to, in
connection with orders for genetic tests, pay kickbacks and bribes in violation of the
federal health care program anti-kickback statute, commit health care fraud, and
commit wire fraud.
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            However, in the event that a guilty plea in this matter is not entered for
any reason or the judgment of conviction entered as a result of this guilty plea does
not remain in full force and effect, MCCUBBINS agrees that any other charges that
are not time-barred by the applicable statute of limitations on the date this
agreement is signed by MCCUBBINS may be commenced against him,
notwithstanding the expiration of the limitations period after MCCUBBINS signs the
agreement.

Sentencing

              The violation of 18 U.S.C. § 371 charged in Count One to which
MCCUBBINS agrees to plead guilty carries a statutory maximum penalty of 5 years’
imprisonment and a statutory maximum fine equal to the greatest of: (1) $250,000,
or (2) twice the gross amount of any pecuniary gain that any persons derived from
the offense, or (3) twice the gross amount of any pecuniary loss sustained by any
victims of the offense.

              The violation of 18 U.S.C. § 1349 charged in Count Two to which
MCCUBBINS agrees to plead guilty carries a statutory maximum penalty of 10 years’
imprisonment and a statutory maximum fine equal to the greatest of: (1) $250,000,
or (2) twice the gross amount of any pecuniary gain that any persons derived from
the offense, or (3) twice the gross amount of any pecuniary loss sustained by any
victims of the offense.

              The violation of 18 U.S.C. § 1349 charged in Count Three to which
MCCUBBINS agrees to plead guilty carries a statutory maximum penalty of 20 years’
imprisonment and a statutory maximum fine equal to the greatest of: (1) $250,000,
or (2) twice the gross amount of any pecuniary gain that any persons derived from
the offense, or (3) twice the gross amount of any pecuniary loss sustained by any
victims of the offense.

             The sentence on each count may run consecutively. Fines imposed by
the sentencing judge may be subject to the payment of interest.

              The sentence to be imposed upon MCCUBBINS is within the sole
discretion of the sentencing judge, subject to the provisions of the Sentencing Reform
Act, 18 U.S.C. §§ 3551-3742, and the sentencing judge’s consideration of the United
States Sentencing Guidelines. The United States Sentencing Guidelines are advisory,
not mandatory. The sentencing judge may impose any reasonable sentence up to and
including the statutory maximum term of imprisonment and the maximum statutory
fine. This Office cannot and does not make any representation or promise as to what




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guideline range may be found by the sentencing judge, or as to what sentence
MCCUBBINS ultimately will receive.

              Further, in addition to imposing any other penalty on MCCUBBINS, the
sentencing judge: (1) will order MCCUBBINS to pay an assessment of $100 per count
pursuant to 18 U.S.C. § 3013, which assessment must be paid by the date of
sentencing; (2) must order MCCUBBINS to pay restitution pursuant to
18 U.S.C. § 3663 et seq.; (3) must order criminal forfeiture pursuant to 18 U.S.C.
§ 982(a)(7); and 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c); (4) may order
MCCUBBINS, pursuant to 18 U.S.C. § 3555, to give notice to any victims of his
offense; and (5) pursuant to 18 U.S.C. § 3583, may require MCCUBBINS to serve a
term of supervised release of not more than 3 years for each count, which will begin
at the expiration of any term of imprisonment imposed. Should MCCUBBINS be
placed on a term of supervised release and subsequently violate any of the conditions
of supervised release before the expiration of its term, MCCUBBINS may be
sentenced to not more than 2 years’ imprisonment, in addition to any prison term
previously imposed, regardless of the statutory maximum term of imprisonment set
forth above and without credit for time previously served on post-release supervision,
and may be sentenced to an additional term of supervised release.

Restitution Agreement

              MCCUBBINS agrees to make full restitution for all losses resulting
from the offenses of conviction or from the scheme, conspiracy, or pattern of criminal
activity underlying these offenses. The calculation of the losses resulting from the
offenses of conviction is ongoing.

Rights of This Office Regarding Sentencing

              Except as otherwise provided in this agreement, this Office reserves its
right to take any position with respect to the appropriate sentence to be imposed on
MCCUBBINS by the sentencing judge, to correct any misstatements relating to the
sentencing proceedings, and to provide the sentencing judge and the United States
Probation Office all law and information relevant to sentencing, favorable or
otherwise. In addition, this Office may inform the sentencing judge and the United
States Probation Office of: (1) this agreement; and (2) the full nature and extent of
MCCUBBINS’s activities and relevant conduct with respect to this case.

Stipulations

             This Office and MCCUBBINS agree to stipulate at sentencing to the
statements set forth in the attached Schedule A, which hereby is made a part of this
plea agreement. This agreement to stipulate, however, cannot and does not bind the
sentencing judge, who may make independent factual findings and may reject any or



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all of the stipulations entered into by the parties. To the extent that the parties do
not stipulate to a particular fact or legal conclusion, each reserves the right to argue
the existence of and the effect of any such fact or conclusion upon the sentence.
Moreover, this agreement to stipulate on the part of this Office is based on the
information and evidence that this Office possesses as of the date of this agreement.
Thus, if this Office obtains or receives additional evidence or information prior to
sentencing that it determines to be credible and to be materially in conflict with any
stipulation in the attached Schedule A, this Office shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not release
either this Office or MCCUBBINS from any other portion of this agreement, including
any other stipulation. If the sentencing court rejects a stipulation, both parties
reserve the right to argue on appeal or at post-sentencing proceedings that the
sentencing court was within its discretion and authority to do so. These stipulations
do not restrict this Office’s right to respond to questions from the Court and to correct
misinformation that has been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

               As set forth in Schedule A, this Office and MCCUBBINS waive certain
rights to file an appeal, collateral attack, writ, or motion after sentencing, including
but not limited to an appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C.
§ 2255.

Forfeiture

              As part of his acceptance of responsibility, MCCUBBINS
agrees to forfeit the following to the United States of America:

             (a)    pursuant to 18 U.S.C. § 982(a)(7), all property, real or
                    personal, MCCUBBINS obtained that constitutes or is
                    derived, directly and indirectly, from gross proceeds
                    traceable to the federal health care fraud offenses charged
                    in Counts One and Two of the Information, and all property
                    traceable to such property; and

             (b)    pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.
                    § 2461(c), all property, real or personal, which constitutes
                    or is derived from proceeds MCCUBBINS obtained that are
                    traceable to the wire fraud conspiracy offense charged in
                    Count Three of the Information, and all property traceable
                    to such property.

             MCCUBBINS further agrees that one or more of the conditions set forth
in 21 U.S.C. § 853(p) exists, and that the United States is therefore entitled to forfeit
substitute assets equal to the aggregate value of the forfeitable property described


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above, in an amount to be agreed to by the parties prior to sentencing (the “Money
Judgment”). MCCUBBINS consents to the entry of an order requiring the defendant
to pay the Money Judgment, in the manner described below (the “Order”), and that
the Order will be final as to the defendant prior to sentencing, pursuant to Rule
32.2(b)(4) of the Federal Rules of Criminal Procedure, and which may be satisfied in
whole or in part with substitute assets.

              All payments made in full or partial satisfaction of the Money Judgment
shall be made by postal money order, bank, or certified check, made payable in this
instance to the United States Marshals Service, indicating the defendant’s name and
case number on the face of the check; and shall be delivered by mail to the United
States Attorney’s Office, District of New Jersey, Attn: Asset Forfeiture and Money
Laundering Unit, 970 Broad Street, 7th Floor, Newark, New Jersey 07102.
MCCUBBINS further agrees that the United States Attorney’s Office is authorized
to conduct any discovery needed to identify, locate, or dispose of property sufficient to
pay the Money Judgment in full or in connection with any petitions filed with regard
to proceeds or substitute assets, including depositions, interrogatories, and requests
for production of documents, and the issuance of subpoenas.

               Defendant further consents to the administrative and/or civil judicial
forfeiture of any forfeitable specific property (the “Forfeitable Specific Property”)
pursuant to 18 U.S.C. § 981(C). Defendant agrees that he will not file a claim or a
petition for remission or mitigation in any forfeiture proceeding involving the
Forfeitable Specific Property and will not cause or assist anyone else in doing so. To
the extent Defendant has filed a claim or petition in any administrative or civil
judicial forfeiture proceeding involving the Forfeitable Specific Property, such claims
or petitions are hereby deemed withdrawn.

             MCCUBBINS further understands and agrees that his agreement to
forfeit and relinquish his interest in the Forfeitable Specific Property includes his
agreement on behalf of his minor child to forfeit and relinquish any interest his minor
child may have in the Forfeitable Specific Property.

              MCCUBBINS hereby consents to the entry of preliminary orders of
forfeiture and orders for the interlocutory sale of the Forfeitable Specific Property
pursuant to Rule 32.2(b) of the Federal Rules of Criminal Procedure and/or
Supplemental Rule G(7) of the Supplemental Rules for Admiralty or Maritime Claims
and Asset Forfeiture Actions, or the Federal Rules of Civil Procedure, as this Office
may request. MCCUBBINS further agrees to take all necessary steps to pass clear
title to the Forfeitable Specific Property to the United States, including, but not
limited to, the surrender of such property to the United States Marshals Service and
the execution of all necessary documentation. MCCUBBINS further agrees that the
authorized agent(s) of all limited liability companies or other entities in which
MCCUBBINS’ interest in the Forfeitable Specific Property is held will execute



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necessary documentation on behalf of such entities to effect the sale, forfeiture, and
other obligations placed on MCCUBBINS with respect to the Forfeitable Specific
Property. MCCUBBINS agrees that he will remain responsible for the prompt
payment of property taxes, insurance premiums, and other obligations associated
with maintaining and preserving the value of the Forfeitable Specific Property while
it is in the possession of himself and/or his family members.

              Any forfeited money and the net proceeds from the disposition of the
Forfeitable Specific Property will be applied to the Money Judgment, in partial
satisfaction thereof. It is further understood and agreed that, after all of the
Forfeitable Specific Property is in the possession of the United States Marshals
Service and has been liquidated, the Office will cause a percentage of the net proceeds
to be transferred in accordance with the terms of a civil settlement to be entered into
by the U.S. Department of Justice, Civil Division, Frauds Section (the “Transferred
Funds”). A final order of forfeiture will not be entered as to the Transferred Funds,
but the amount of the Transferred Funds will be credited towards the Money
Judgment.

              MCCUBBINS waives the requirements of Rules 32.2 and 43(a) of the
Federal Rules of Criminal Procedure regarding notice of the forfeiture in the charging
instrument, announcement of the forfeiture at sentencing, and incorporation of the
forfeiture in the judgment. MCCUBBINS understands that criminal forfeiture is
part of the sentence that may be imposed in this case and waives any failure by the
court to advise him of this pursuant to Rule 11(b)(1)(J) of the Federal Rules of
Criminal Procedure at the guilty plea proceeding. MCCUBBINS waives any and all
constitutional, statutory, and other challenges to the forfeiture on any and all
grounds, including that the forfeiture constitutes an excessive fine or punishment
under the Eighth Amendment. It is further understood that any forfeiture of
MCCUBBINS’s assets shall not be treated as satisfaction of any fine, restitution, cost
of imprisonment, or any other penalty the Court may impose upon him in addition to
forfeiture.

              MCCUBBINS further agrees that no later than the date he enters his
plea of guilty he will provide a complete and accurate Financial Disclosure Statement
on the form provided by this Office. If MCCUBBINS fails to provide a complete and
accurate Financial Disclosure Statement by the date he enters his plea of guilty, or if
this Office determines that MCCUBBINS has intentionally failed to disclose assets
on his Financial Disclosure Statement, MCCUBBINS agrees that that failure
constitutes a material breach of this agreement, and this Office reserves the right,
regardless of any agreement or stipulation that might otherwise apply, to oppose any
downward adjustment for acceptance of responsibility pursuant to U.S.S.G. § 3E1.1,
and to seek leave of the Court to withdraw from this agreement or seek other relief.




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              It is further understood that the Office will recommend to the Attorney
General that any forfeited money or property be remitted or restored to eligible
victims of the offense, pursuant to 18 U.S.C. § 982(b)(1), 21 U.S.C. § 853(i), 28 C.F.R.
Pt. 9, and other applicable law, provided that at the conclusion of the case the Office
believes that this case meets the criteria for restoration or remission under the
applicable Department of Justice regulations and policies. It is further understood
that this Office has authority only to recommend such relief and that the final
decision of whether to grant relief rests with the Department of Justice, which will
make its decision in accordance with applicable law.

Immigration Consequences

              MCCUBBINS understands that, if he is not a citizen of the United
States, his guilty plea to the charged offenses will likely result in his being subject to
immigration proceedings and removed from the United States by making him
deportable, excludable, or inadmissible, or ending his naturalization. MCCUBBINS
understands that the immigration consequences of this plea will be imposed in a
separate proceeding before the immigration authorities. MCCUBBINS wants and
agrees to plead guilty to the charged offenses regardless of any immigration
consequences of this plea, even if this plea will cause his removal from the United
States. MCCUBBINS understands that he is bound by his guilty plea regardless of
any immigration consequences of the plea. Accordingly, MCCUBBINS waives any
and all challenges to his guilty plea and to his sentence based on any immigration
consequences, and agrees not to seek to withdraw his guilty plea, or to file a direct
appeal or any kind of collateral attack challenging his guilty plea, conviction, or
sentence, based on any immigration consequences of his guilty plea.

Other Provisions

               This agreement is limited to the United States Attorney’s Office for the
District of New Jersey and cannot bind other federal, state, or local authorities.
However, this Office will bring this agreement to the attention of other prosecuting
offices, if requested to do so.

             This agreement was reached without regard to any civil or
administrative matters that may be pending or commenced in the future against
MCCUBBINS. This agreement does not prohibit the United States, any agency
thereof (including the Internal Revenue Service and Immigration and Customs
Enforcement) or any third party from initiating or prosecuting any civil or
administrative proceeding against MCCUBBINS.

            No provision of this agreement shall preclude MCCUBBINS from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral




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attack, writ, or motion claiming that MCCUBBINS received constitutionally
ineffective assistance of counsel.

No Other Promises

              This agreement constitutes the plea agreement between MCCUBBINS
and this Office and supersedes any previous agreements between them. No additional
promises, agreements, or conditions have been made or will be made unless set forth
in writing and signed by the parties.

                                              Very truly yours,

                                              Rachael A. Honig
                                              First Assistant United States Attorney
                                              Attorney for the United States
                                              Acting Under Authority Conferred by
                                              28 U.S.C. § 515




                                              By: _________________________
                                                  Sean M. Sherman
                                                  J. Stephen Ferketic
                                                  Ryan O’Neill
                                                  Assistant U.S. Attorneys

APPROVED:



Bernard J. Cooney
Acting Chief, Opioid Abuse Prevention
 & Enforcement Unit




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             I have received this letter from my attorney, Jeffrey H. Sloman, Esq. I
have read it. My attorney and I have discussed it and all of its provisions, including
those addressing the charges, sentencing, stipulations, waiver, restitution, forfeiture
and immigration consequences. I understand this letter fully. I hereby accept its
terms and conditions and acknowledge that it constitutes the plea agreement
between the parties. I understand that no additional promises, agreements, or
conditions have been made or will be made unless set forth in writing and signed by
the parties. I want to plead guilty pursuant to this plea agreement.

AGREED AND ACCEPTED:



                                               Date: 9/21/2020
Andrew McCubbins



              I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charges, sentencing, stipulations, waiver,
restitution, forfeiture and immigration consequences. My client understands this
plea agreement fully and wants to plead guilty pursuant to it.



                                               Date:   9/21/2020
Jeffrey H. Sloman, Esq.




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         Plea Agreement With Andrew McCubbins (“MCCUBBINS”)

                                     Schedule A

             1. This Office and MCCUBBINS recognize that the United States
Sentencing Guidelines are not binding upon the Court. This Office and MCCUBBINS
nevertheless agree to the stipulations set forth herein, and agree that the Court
should sentence MCCUBBINS within the Guidelines range that results from the total
Guidelines offense level set forth below. This Office and MCCUBBINS further agree
that neither party will argue for the imposition of a sentence outside the Guidelines
range that results from the agreed total Guidelines offense level.

            2. The version of the United States Sentencing Guidelines effective
November 1, 2018 applies in this case.

                                Count One
 (Conspiracy to Violate the Federal Anti-Kickback Statute, 18 U.S.C. § 371)

             3. The applicable guideline is U.S.S.G. § 2X1.1, which specifies that the
base offense level from the guideline for the substantive offenses applies. The
applicable guideline for the substantive offense—violation of the federal anti-
kickback statute, 42 U.S.C. § 1320a-7b(b)(2)(A), (B)—is U.S.S.G. § 2B.4.1.

             4. The Base Offense Level is 8. U.S.S.G. § 2B4.1(a).

             5. Because the value of the improper benefit to be conferred was more
than $65,000,000 but not more than $150,000,000, within the meaning of U.S.S.G.
§ 2B1.1(b)(1)(M), there is an increase of 24 levels. U.S.S.G. § 2B4.1(b)(1)(B).

              6. No other specific offense characteristics apply. Accordingly, the total
offense level for Count One is 32.

                               Count Two
         (Conspiracy to Commit Health Care Fraud, 18 U.S.C. § 1349)

            7. The applicable guideline is U.S.S.G. § 2X1.1, which specifies that the
base offense level from the guideline for the substantive offense applies. The




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applicable guideline for the substantive offense—health care fraud, 18 U.S.C.
§ 1347—is U.S.S.G. § 2B.1.1.

             8. The Base Offense Level is 6. U.S.S.G. § 2B1.1(a)(2).

              9. Because the offense involved losses totaling more than $65,000,000
but not more than $150,000,000, under U.S.S.G. § 2B1.1(b)(1)(M), there is an increase
of 24 levels.

             10. Because the defendant was convicted of a Federal health care offense
involving a Government health care program, and the loss to the Government health
care program is more than $20,000,000, there is an increase of 4 levels under Specific
Offense Characteristic U.S.S.G. § 2B1.1(b)(7)(iii).

            11. Specific Offense Characteristic U.S.S.G. § 2B1.1(b)(10)(C) applies
because the offense involved sophisticated means and the defendant intentionally
engaged in or caused the conduct constituting sophisticated means. This Specific
Offense Characteristic results in an increase of 2 levels.

              12. No other specific offense characteristics apply. Accordingly, the total
offense level for Count Two is 36.

                               Count Three
             (Conspiracy to Commit Wire Fraud, 18 U.S.C. § 1349)

             13. The applicable guideline regarding Count Three is U.S.S.G. § 2X1.1,
which specifies that the base offense level from the guideline for the substantive
offense applies. The applicable guideline for the substantive offense—wire fraud, 18
U.S.C. § 1343—is U.S.S.G. § 2B.1.1.

             14. The Base Offense Level is 7. U.S.S.G. § 2B1.1(a)(1).

              15. Because the offense involved losses totaling more than $65,000,000
but not more than $150,000,000, under U.S.S.G. § 2B1.1(b)(1)(M), there is an increase
of 24 levels.

             16. Because the defendant was convicted of a Federal health care offense
involving a Government health care program, and the loss to the Government health
care program is more than $20,000,000, there is an increase of 4 levels under Specific
Offense Characteristic U.S.S.G. § 2B1.1(b)(7)(iii).

            17. Specific Offense Characteristic U.S.S.G. § 2B1.1(b)(10)(C) applies
because the offense involved sophisticated means and the defendant intentionally
engaged in or caused the conduct constituting sophisticated means. This Specific
Offense Characteristic results in an increase of 2 levels.



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              18. No other specific offense characteristics apply. Accordingly, the
offense level for Count Three is 37.

                           Grouping of Multiple Counts

             19. The Government and MCCUBBINS agree that, pursuant to U.S.S.G.
§ 3D1.2(d), Counts One, Two, and Three group together into a single group.

              20. Pursuant to U.S.S.G. § 3D1.3(b), the offense level applicable to the
group is the offense level corresponding to the aggregated quantity. Accordingly, the
combined offense level for Counts One, Two, and Three is 37.

                           Acceptance of Responsibility

              21. As of the date of this letter, it is expected that MCCUBBINS will
enter a plea of guilty prior to the commencement of trial, will truthfully admit his
involvement in the offenses and related conduct, and will not engage in conduct that
is inconsistent with such acceptance of responsibility. If all of these events occur, and
MCCUBBINS’s acceptance of responsibility continues through the date of sentencing,
a downward adjustment of 2 levels for acceptance of responsibility will be
appropriate. See U.S.S.G. § 3E1.1(a) and Application Note 3.

              22. As of the date of this letter, it is expected that MCCUBBINS will
assist authorities in the investigation or prosecution of his own misconduct by timely
notifying authorities of his intention to enter a plea of guilty, thereby permitting this
Office to avoid preparing for trial and permitting this Office and the court to allocate
their resources efficiently. At sentencing, this Office will move for a further 1-point
reduction in MCCUBBINS’s offense level pursuant to U.S.S.G. § 3E1.1(b) if the
following conditions are met: (a) MCCUBBINS enters a plea pursuant to this
agreement, (b) this Office in its discretion determines that MCCUBBINS’s acceptance
of responsibility has continued through the date of sentencing and MCCUBBINS
therefore qualifies for a 2-point reduction for acceptance of responsibility pursuant to
U.S.S.G. § 3E1.1(a), and (c) MCCUBBINS’s offense level under the Guidelines prior
to the operation of § 3E1.1(a) is 16 or greater

             23. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to MCCUBBINS is 34 (the “agreed total
Guidelines offense level”).

              24. The parties agree not to seek or argue for any upward or downward
departure, adjustment or variance not set forth herein. The parties further agree that
a sentence within the Guidelines range that results from the agreed total Guidelines
offense level of 34 is reasonable.

            25. MCCUBBINS knows that he has and, except as noted below in this
paragraph, voluntarily waives, the right to file any appeal, any collateral attack, or


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any other writ or motion, including but not limited to an appeal under 18 U.S.C. §
3742 or a motion under 28 U.S.C. § 2255, which challenges the sentence imposed by
the sentencing court if that sentence falls within or below the Guidelines range that
results from the agreed total Guidelines offense level of 34. This Office will not file
any appeal, motion, or writ which challenges the sentence imposed by the sentencing
court if that sentence falls within or above the Guidelines range that results from the
agreed total Guidelines offense level of 34. The parties reserve any right they may
have under 18 U.S.C. § 3742 to appeal the sentencing court’s determination of the
criminal history category. The provisions of this paragraph are binding on the parties
even if the Court employs a Guidelines analysis different from that stipulated to
herein. Furthermore, if the sentencing court accepts a stipulation, both parties waive
the right to file an appeal, collateral attack, writ, or motion claiming that the
sentencing court erred in doing so.

             26. Both parties reserve the right to oppose or move to dismiss any
appeal, collateral attack, writ, or motion barred by the preceding paragraph and to
file or to oppose any appeal, collateral attack, writ or motion not barred by the
preceding paragraph.




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